                                      Case 19-12285                 Doc 1       Filed 10/27/19            Page 1 of 21

Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Blue Prairie Brands, Inc.

2.   All other names debtor
     used in the last 8 years
                                  FDBA Blue Prairie Brands, LLC
     Include any assumed          DBA Blue Prairie
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  1150 Rundell Road
                                  Gering, NE 69341
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Scotts Bluff                                                      Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.blueprairiebrands.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 19-12285                Doc 1         Filed 10/27/19              Page 2 of 21
Debtor    Blue Prairie Brands, Inc.                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above

                                       B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                              Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                              Chapter 7
     debtor filing?
                                              Chapter 9
                                              Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                              Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8
     years?                            Yes.
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                    Case 19-12285                Doc 1        Filed 10/27/19            Page 3 of 21
Debtor   Blue Prairie Brands, Inc.                                                               Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs         Yes.
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No


                                           Yes.        Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                 50,001-100,000
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 19-12285                   Doc 1     Filed 10/27/19             Page 4 of 21
Debtor   Blue Prairie Brands, Inc.                                                                 Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       10/27/2019
                                                   MM / DD / YYYY


                             X   /s/ Thomas R. Burrows                                                    Thomas R. Burrows
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Representative




18. Signature of attorney    X   /s/ Maria Aprile Sawczuk                                                  Date October 27 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Maria Aprile Sawczuk
                                 Printed name

                                 Goldstein & McClintock LLLP
                                 Firm name

                                 501 Silverside Road
                                 Suite 65
                                 Wilmington, DE 19809
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (302) 444-6710               Email address      marias@goldmclaw.com

                                 3320 DE
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                Case 19-12285          Doc 1   Filed 10/27/19   Page 5 of 21



                                 WRITTEN CONSENT OF THE STOCKHOLDERS OF
                                         BLUE PRAIRIE BRANDS, INC.
                                           (a Delaware corporation)

                                                Effective as of October 24, 2019

                    The undersigned, being the requisite stockholders (the “Requisite Stockholders”) of Blue
            Prairie Brands, Inc., a Delaware corporation (the “Company”), do hereby consent to, take and
            adopt the following resolutions and actions by this unanimous written consent (this “Consent”) in
            accordance with the Delaware General Corporation Law, as amended and in effect from time to
            time (the “DGCL”) and the Bylaws of the Company, and direct that this Consent be placed in the
            record book of the Company:

                                               FILING PETITION OF BANKRUPTCY

                   WHEREAS, the Company’s Board of Directors (the “Board”) has determined that, in the
            judgment of the Board, it is desirable and in the best interest of the Company, its creditors,
            stockholders, other equity holders, and other interested parties to file a petition (the “Petition”)
            seeking relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in
            the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);

                    WHEREAS, the written consent or affirmative vote of the holders of at least 55% of the then
            outstanding shares of Preferred Stock (as defined in the Company’s Second Amended and Restated
            Certificate of Incorporation) is required in order to liquidate, dissolve or wind-up the business and
            affairs of the Company;

                   WHEREAS, the Requisite Stockholders constitute holders of at least 55% of the then
            outstanding shares of Preferred Stock;

                   WHEREAS, the Requisite Stockholders have considered the financial and operational
            aspects of the Company’s business and the recommendations of the Board, the Company’s
            professionals and advisors, and adopted the following resolutions.

                     NOW, THEREFORE, BE IT:

                    RESOLVED, that, in the judgment of the Requisite Stockholders, it is desirable and in the
            best interest of the Company, its creditors, stockholders, other equity holders, and other interested
            parties to file the Petition seeking relief under chapter 11 of title 11 of the Bankruptcy Code in the
            Bankruptcy Court; and be it further

                    RESOLVED, that the Petition is adopted in all respects and the Board is hereby authorized
            and directed, on behalf of the Company, to authorize the execution of a filing of the Petition by
            the Company and to cause the same to be filed with the Bankruptcy Court at such time as the Board
            (or a person authorized by the Board) considers it appropriate; and be it further




            #71159523_v1                                        1
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                                Case 19-12285          Doc 1   Filed 10/27/19   Page 6 of 21



                                             GENERAL AUTHORIZING RESOLUTION

                   RESOLVED, that all such other acts or things which would cause the transactions
            contemplated by these resolutions to be consummated and performed be, and hereby are,
            authorized, approved and adopted in all respects; and be it further

                    RESOLVED, that every act, action, agreement, document or instrument heretofore done,
            performed, made, executed or delivered by or on behalf of or in the name of the Company in order
            to effect the purposes and intentions of the foregoing resolutions be, and hereby is authorized,
            approved, ratified and adopted in all respects; and be it further

                   RESOLVED, that the directors and officers of the Company and other persons duly
            authorized by the Board of the Company are hereby authorized to perform such further acts and
            execute and deliver such further documents or instruments as such director or officer or authorized
            person may deem necessary or desirable to carry out, with respect to the Company, the intents and
            purposes of the foregoing resolutions; and be it further

                    RESOLVED, that this Consent may be executed in multiple counterparts, each of which shall
            be deemed to be an original and all of which together shall be deemed to be one and the same
            document. Facsimile and portable document format signatures on this Consent may be accepted
            in lieu of the original signatures.

                                                     (Signature Page Follows)




            #71159523_v1                                        2
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                                Case 19-12285          Doc 1   Filed 10/27/19   Page 7 of 21



                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders, have
            executed and acknowledged this Consent as of the date set forth above.


            STOCKHOLDERS:




            Uday C. Gupta, Individual                              Dated




            Bradley A. Justice, Individual                         Dated




            Richard Peet, Individual                               Dated



            PAVILION XI PARTNERS, LLC



            By:
                  Name: Jayson M. Rieger                           Dated
                  Title: Managing Director



            PROTEOISBIO, LLC



            By:
                  Name: Richard Peet                               Dated
                  Title: Director




                      [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
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                                Case 19-12285          Doc 1   Filed 10/27/19   Page 8 of 21



                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders, have
            executed and acknowledged this Consent as of the date set forth above.

            STOCKHOLDERS:

            S2G VENTURES FUND I, L.P.

            By:      S2G Ventures, LLC
                     Its General Partner



            By:
                  Name: Chuck Templeton                            Dated
                  Title: Manager



            DSM VENTURING B.V.

                                                                      October 25, 2019 | 13:18 PM PDT
            By:
                  Name: Pieter Wolters                             Dated
                  Title: Director

                                                                       October 25, 2019 | 12:52 PM PDT
            By:
                  Name: Hans Vossen                                Dated
                  Title: Director



            PM EQUITY PARTNER SÀRL


            By:
                  Name: Marco Brunazzo                             Dated
                  Title: Authorized Signatory


            By:
                  Name: Alexander Stoeckel                         Dated
                  Title: Authorized Signatory




                      [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
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                                Case 19-12285          Doc 1   Filed 10/27/19   Page 9 of 21



                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders,
            have executed and acknowledged this Consent as of the date set forth above.

            STOCKHOLDERS:


            MIDDLELAND AG FUND II

            By:      Middleland AG II GP, LLC, its manager



            By:
                  Name: Scott Horner                               Dated
                  Title: Director, Middleland AG II GP LLC


            MIDDLELAND BP HOLDINGS, LLC

            By:      Middleland AG II GP, LLC, its manager



            By:
                  Name: Scott Horner                               Dated
                  Title: Director, Middleland AG II GP LLC


            INVEST NEBRASKA CORPORATION



            By:
                  Name: Dan Hoffman                                Dated
                  Title: President & CEO


            WOODLEY PARK INVESTMENTS, LLC



            By:
                  Name: Richard Peet                               Dated
                  Title: Chief Executive Officer




                      [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
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                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders,
            have executed and acknowledged this Consent as of the date set forth above.

            STOCKHOLDERS:


            BUNGE VENTURES LTD.


            By:
                  Name: Nanda Kumar                                Dated
                  Title: Chief Investment Officer and
                         Managing Director



            By:
                  Name: Alanna Weifenbach                          Dated
                  Title: Director




                      [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
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                               Case 19-12285          Doc 1   Filed 10/27/19     Page 11 of 21



                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders,
            have executed and acknowledged this Consent as of the date set forth above.


            STOCKHOLDERS:




            Uday C. Gupta, Individual                              Dated




            Bradley A. Justice, Individual                         Dated


                                                                    10/25/2019

            Richard Peet, Individual                               Dated



            PAVILION XI PARTNERS, LLC



            By:
                  Name: Jayson M. Rieger                           Dated
                  Title: Managing Director



            PROTEOISBIO, LLC


                                                                   10/25/2019
            By:
                  Name: Richard Peet                               Dated
                  Title: Director




                     [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
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                               Case 19-12285          Doc 1   Filed 10/27/19    Page 12 of 21



                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders,
            have executed and acknowledged this Consent as of the date set forth above.

            STOCKHOLDERS:

            S2G VENTURES FUND I, L.P.

            By:      S2G Ventures, LLC
                     Its General Partner


                                                                   10/24/2019
            By:
                  Name: Chuck Templeton                            Dated
                  Title: Manager



            DSM VENTURING B.V.


            By:
                  Name: Pieter Wolters                             Dated
                  Title: Director


            By:
                  Name: Hans Vossen                                Dated
                  Title: Director



            PM EQUITY PARTNER SÀRL

                                                                   10/25/2019
            By:
                  Name: Marco Brunazzo                             Dated
                  Title: Authorized Signatory

                                                                   10/25/2019
            By:
                  Name: Alexander Stoeckel                         Dated
                  Title: Authorized Signatory




                     [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
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                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders,
            have executed and acknowledged this Consent as of the date set forth above.

            STOCKHOLDERS:


            MIDDLELAND AG FUND II

            By:      Middleland AG II GP, LLC, its manager


                                                                    10/25/2019
            By:
                  Name: Scott Horner                               Dated
                  Title: Director, Middleland AG II GP LLC


            MIDDLELAND BP HOLDINGS, LLC

            By:      Middleland AG II GP, LLC, its manager


                                                                   10/25/2019
            By:
                  Name: Scott Horner                               Dated
                  Title: Director, Middleland AG II GP LLC


            INVEST NEBRASKA CORPORATION



            By:
                  Name: Dan Hoffman                                Dated
                  Title: President & CEO


            WOODLEY PARK INVESTMENTS, LLC


                                                                   10/25/2019
            By:
                  Name: Richard Peet                               Dated
                  Title: Chief Executive Officer




                     [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
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                               Case 19-12285          Doc 1   Filed 10/27/19    Page 14 of 21



                   IN WITNESS WHEREOF, the undersigned, constituting the Requisite Stockholders,
            have executed and acknowledged this Consent as of the date set forth above.

            STOCKHOLDERS:


            BUNGE VENTURES LTD.

                                                                   10/25/2019
            By:
                  Name: Nanda Kumar                                Dated
                  Title: Chief Investment Officer and
                         Managing Director



            By:
                  Name: Alanna Weifenbach                          Dated
                  Title: Director




                     [Signature Page to Blue Prairie Brands, Inc. Stockholder Consent – Bankruptcy]
                                        Case 19-12285                  Doc 1     Filed 10/27/19    Page 15 of 21

                                                              United States Bankruptcy Court
                                                                          District of Delaware
 In re      Blue Prairie Brands, Inc.                                                                      Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Bernhard Van Lengerich                                              Common Stock 201,724                             Equity Interest



 Bradley A. Justice                                                  Common Stock 91,400                              Equity Interest



 Bunge Ventures Ltd.                                                 Preferred      690,484                           Equity Interest
                                                                     Stock

 Colin Rowe                                                          Common Stock 39,167                              Equity Interest



 DSM Venturing B.V.                                                  Preferred      674,410                           Equity Interest
                                                                     Stock

 Invest Nebraska Corporation                                         Preferred      312,154                           Equity Interest
                                                                     Stock

 Middleland AG Fund II                                               Preferred      757,597                           Equity Interest
                                                                     Stock

 Middleland BP Holdings, LLC                                         Preferred      221,941                           Equity Interest
                                                                     Stock

 Pavillion XI Partners, LLC                                          Common Stock 50,000                              Equity Interest



 PM Equity Partner Sàrl                                              Preferred      1,385,194                         Equity Interest
                                                                     Stock

 ProteiosBio, LLC                                                    Common Stock 400,000                             Equity Interest



 Richard Peet                                                        Common Stock 118,000                             Equity Interest



 S2G Ventures Fund I, L.P.                                           Preferred      961,940                           Equity Interest
                                                                     Stock

 Terry Frahm                                                         Common Stock 170,155                             Equity Interest




Sheet 1 of 2 in List of Equity Security Holders
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 In re:    Blue Prairie Brands, Inc.                                                                     Case No.
                                                                                      Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                          (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 Thomas R. Burrows                                                   Common Stock 281,202                                       Equity Interest



 Uday C. Gupta                                                       Common Stock 104,700                                       Equity Interest



 Woodley Park Investments, LLC                                       Preferred         323,978                                  Equity Interest
                                                                     Stock


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Authorized Representative of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date 10/27/2019                                                                 Signature /s/ Thomas R. Burrows
                                                                                            Thomas R. Burrows, Authorized Representative

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                                              United States Bankruptcy Court
                                                                        District of Delaware
 In re      Blue Prairie Brands, Inc.                                                                    Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Blue Prairie Brands, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Middleland AG Fund II

 PM Equity Partner Sàrl

 S2G Ventures Fund I, L.P.




    None [Check if applicable]




 10/27/2019                                                          /s/ Maria Aprile Sawczuk
 Date                                                                Maria Aprile Sawczuk
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Blue Prairie Brands, Inc.
                                                                     Goldstein & McClintock LLLP
                                                                     501 Silverside Road
                                                                     Suite 65
                                                                     Wilmington, DE 19809
                                                                     (312) 337-7700 Fax:(312) 277-2305
                                                                     marias@goldmclaw.com




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 Fill in this information to identify the case:
 Debtor name Blue Prairie Brands, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Allo                                                                                                                                                                         $154.45
 Communications –
 Phone
 P.O. Box 2697
 Omaha, NE
 68103-2697

 Black Hills Energy                                                                                                                                                         $1,505.43
 PO Box 6001
 Rapid City, SD
 57709-6001

 Bunge Ventures Ltd.                                                                                                                                                    $375,000.00
 2 Church Street
 Hamilton HM 11
 Bermuda
 Express Services,                                                                                                                                                        $80,187.89
 Inc.
 P.O. Box 203901
 Dallas, TX
 75320-3901

 Fitts Farms                                                                            Disputed                                                                          $79,450.00
 160529 County
 Road 29
 Gering, NE 69341

 Holland & Knight                                                                                                                                                           $7,828.50
 P.O. Box 864084
 Orlando, FL
 32886-4084

 Lyco Manufacturing,                                                                                                                                                      $10,005.35
 Inc.
 115 Commercial
 Drive PO Box 31
 Columbus, WI 53925


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                             Case 19-12285                Doc 1         Filed 10/27/19               Page 19 of 21


 Debtor    Blue Prairie Brands, Inc.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Medallion Labs                                                                                                                                                               $611.00
 9000 Plymouth
 Avenue North
 Minneapolis, MN
 55427

 Middleland AG Fund                                                                                                                                                     $400,000.00
 II
 1100 Vermont Ave
 NW, Suite 450
 Washington, DC
 20005
 PM Equity Partner                                                                                                                                                    $1,000,000.00
 Sàrl
 Avenue de
 Rhodanie 50
 1007 Lausanne
 Switzerland
 Presto-X                                                                                                                                                                     $192.60
 PO Box 13848
 Reading, PA
 19612-3848

 S2G Ventures Fund                                                                                                                                                      $600,000.00
 I, L.P.
 210 N Carpenter
 Street, Suite 800
 Chicago, IL 60607
 S2G Ventures Fund                                                                                                                                                      $375,000.00
 II, L.P.
 210 N Carpenter
 Street, Suite 800
 Chicago, IL 60607
 Scottsbluff                                                                                                                                                                  $333.90
 Industries
 250109 Skyport Dr.
 Scottsbluff, NE
 69361

 Snell Services, Inc.                                                                                                                                                       $2,435.17
 P.O. Box 484
 Gering, NE
 69341-0484

 ULINE                                                                                                                                                                      $1,141.31
 PO Box 88741
 Chicago, IL
 60680-1741




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Blue Prairie Brands, Inc.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 UPS                                                                                                                                                                          $370.59
 PO Box 7247-0244
 Philadelphia, PA
 19170-0001

 Urschel                                                                                                                                                                    $8,628.80
 1200 Cutting Edge
 Dr Chesterton, IN
 46304
 PO Box 75
 Remittance Drive
 Dept 1657
 Chicago, IL
 60675-1657

 Westco                                                                                                                                                                     $1,617.52
 724 West 3rd
 P.O. Box H
 Alliance, NE
 69301-0774

 Woodley Park                                                                                                                                                           $600,000.00
 Investments, LLC
 3100 Hawthorne
 Street NW
 Washington, DC
 20008




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                        Case 19-12285                    Doc 1        Filed 10/27/19            Page 21 of 21




 Fill in this information to identify the case:

 Debtor name         Blue Prairie Brands, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    List of Equity Security Holders, Corporate Ownership Statement, Certification of Creditor
                                                                Matrix

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          10/27/2019                              X /s/ Thomas R. Burrows
                                                                       Signature of individual signing on behalf of debtor

                                                                       Thomas R. Burrows
                                                                       Printed name

                                                                       Authorized Representative
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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